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                                 EXHIBIT 1

                      Earl’s Notification as to Affiliates
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            IN THE UNITED STATES DISTRICT COURT FOR THE
                   NORTHERN DISTRICT OF ILLINOIS
                          EASTERN DIVISION

In re:                                           No. 1:15-bk-01145 (ABG)

CAESARS ENTERTAINMENT
OPERATING COMPANY, INC., et al.,

            Debtors.
WHITEBOX ADVISORS, LLC,                          No. 1:18-cv-01468 (RWG)
            Appellant,

         - against -

EARL OF SANDWICH
(ATLANTIC CITY), LLC,
              Appellee.

                        NOTIFICATION AS TO AFFILIATES

         Pursuant to Rule 8012(a) and Local Rule 3.2, counsel for Earl of Sandwich

(Atlantic City), LLC states that it is wholly-owned by Earl of Sandwich (USA), LLC,

which in turn is wholly-owned by Rawhide Holdings Inc., which in turn is wholly-

owned by Rawhide Trust under Trust Agreement dated March 7, 1996.
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Dated: March 16, 2018                       Respectfully submitted,

                                            /s/ Jeffrey Chubak
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                                            - and -

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                                            LLC




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